Case 9:19-cv-01570-DJS Document 72 Filed 03/15/23. Page 1of6

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

PRO BONO FUND VOUCHER
AND REQUEST FOR REIMBURSEMENT

1, Daria Gerasimova , duly appointed as counsel pro bono to

represent Jason Berry in the matter of

Berry v. C.O. Dart et al.

Civil Action No. 9:19-CVv-1570, hereby request reimbursement pursuant to Local Rule 83.3

for expenses incurred in the representation of my pro bono client in the amount of $ 290.00.

I certify that the expenses, a detailed copy of which are attached hereto, are reasonable
and necessary. I further understand that absent prior approval of the court, cumulative expenses

in this matter will not exceed $2,000.00.
Dated: March 6, 2023

Counsel Pro Bono (Signature): D ut bes Le va

The above application of counsel pro bono is fair and reasonable and payment is
requested from the Northern District of New York’s Pro Bono Fund.

Dated: March g, DOA?

Presiding Judge (Signature): / LOD gad

IT IS SO ORDERED. é (AL “NT
Dated: Miyetes 8 ROOF 3/, 3/ =

Pian nil ell Sica rg,

Chief U.S. District Judge
Case 9:19-cv-01570-DJS Document 72 Filed 03/15/23 Page 2 of 6

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Pro Bono Expense Voucher

Attorney(s) Name: Daria Gerasimova

Law Firm Name: Ferrara Fiorenza PC

Mailing Address of Law

Firm: 520 Columbia Dr. Suite 204
City/State/Zip: Johnson City, New York 13790

I hereby request payment be made for Pro Bono services performed in:

Case Number: 9:1 9-cv-01570-DJS

Party Represented: Jason Berry

Dates of Service: From:4/26/2022 To: 3/2/2023
GRAND TOTAL
Rates Effective October 2021 through September 2022 , i
See mileage rates for Northern District af New York VOUCHER AMOUNT
GSA PER DIEM'RATES: Lodging Meals $ 290.00
{Recommended) .
Syracuse $101 $64
Albany gu $69 Finance Audit_WAL Date: AlGlaog3
Utica 96 $59
‘Binghamton : ae 2 5 -
Plattsburgh , .
*Only actual expenses may be clalaed

I certify that ! rendered the services described herein, that said services are fair and reasonable and payment is requested from
the Northern District of New York’s Pro Bono Fund. | further understand that absent prior approval of the Court, cumulative
expenses in this matter will not exceed $2,000.00,

PIC be 22 Si MVOC Date; 3/6/2023.

Attorney Signature:

*Must provide recelpts if your expenses include airfare, lodging, rental car and expenses $50.00 and over.
*Please submit your voucher yia ECF using “Motion for Disbursement of Funds” event.

*If you have an expense over $500.00, travel expenses or your voucher excecds $2,000.00, please fill out the attached Authorization
Request Form.

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Case 9:19-cv-01570-DJS Document 72 Filed 03/15/23. Page 4of6

D & M Litigation Services INVOICE: 8364535
PO BOX 232 Issued: Feb 10, 2023
North Syracuse, NY 13212 RECEIVED Sent to: SUE AGATI
FEB 14 2023
FERRARA FIORENZA PG
FERRARA FIORENZA PC
SUE AGATI
290 LINDEN OAKS SUITE 230
ROCHESTER, NY 14625
Case: 9;19-CV-01570-T]M-DJS Plaintiff / Petitioner: JASON BERRY,
Job: 8364535 Defendant / Respondent; C.0. DART, C.0, MURRAY, C.0. PENNELLO, AND SGT PYKE
DARA PLONE if iS al:
2/10 SERVICE OF SUBPOENA $0.00 0 $0.0
Out of County Service RYAN PENNELLO $80.00 1 $80.00
Out of County Service JEFFREY CLAFLIN $80.00 05 $40,00
Out of County Service STEVEN PYKE $80.00 0.5 $40.00
Out of County Service DANIEL MURRAY $80.00 0.5 $40.00
Out of County Service RICHARD DART $80.00 0.5 $40.00
RUSH FEE RUSH SERVICE REQUESTED. $10,00 5 $50,00
Total: $290.00
Thanks for your business. Please pay the “Balance Due" within 21 days. Amount Pald: = ($0.00)
Balance Due: $290.00

© & M Ltlgatlon Services * PO BOX 232, North Syracuse, NY 13212

Call: 315-534-8776 +» Email: Infe@dmiltigatlon.com

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.” FERRARA FIORENZA PC

51288
2/16/23 §1288 D & M Litigation Services, inc , $280.00
Inv # 8364535
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Feb 16, 2023 a 290.00
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DEZGNH STKOKO! 08/31/2022 09:33 -213-
Case 9:19-cv-01570-DJS Document 72

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Susan Agati

From: Richard Rhone <notifications@mall. servemanager.com>

Sent: Friday, February 10, 2023 3:57 PM

To: Susan Agati

Subject: (ServeManager] Invoice #8364535 from D & M Litigation Services
Invoices for FERRARA FIORENZA PC

Richard Rhone sent you 1 invoice.

invoice Billed Batance | Recipient Court Case
Due
8364535 | Feb 10,2023] $290.00} DANIEL Case: 9:19-CV-01570-TIM-DIJS
Pay Online| MURRAY —| plaintiff: JASON BERRY,
Defendant: C.O, DART, C.0. MURRAY, C.O. PENNELLO, AND
SGT PYKE
Court: UNITED STATES DISTRICT COURT NORTHERN
DISTRICT OF NEW YORK
County:
Shared with you by:
Richard Rhone
.D & M Litigation Services
INFO@DMLUTIGATION.COM
315-534-8776

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